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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


  S&S INNOVATIONS CORP.,

            Plaintiff,                        Case No. 1:18−cv−1377

      v.                                      Hon. Hala Y. Jarbou

  UUSI, LLC, et al.,

            Defendants.
                                          /



                               NOTICE OF HEARING


  TAKE NOTICE that a hearing has been scheduled as set forth below:

  Type of hearing(s):     Status Conference
  Date/Time:              June 17, 2021 09:00 AM
  District Judge:         Hala Y. Jarbou
  Place/Location:         128 Federal Building, Lansing, MI


                                          HALA Y. JARBOU
                                          United States District Judge

  Dated: June 16, 2021              By:    /s/ Hannah A. Wagener
                                          Case Manager
